      Case 1:21-cv-05594-NLH-MJS Document 1 Filed 03/17/21 Page 1 of 26 PageID: 1



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                       (CAMDEN VICINAGE)

WILLIAM GILES AND ANNA SMALLEY,
                                                                 CIVIL ACTION NO.
                                           Plaintiffs,

               -against-

PEGASUS BUS co., LLC AND OLGA TORRES,

                                           Defendants .
                                                      -x
               NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES                                     8

                 DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

TO:     THE JUDGES OF THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF NEW JERSEY

        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. 1367, 1332, 1441 and 1446, Defendants

Pegasus Bus Co. and Olga Tones hereby remove this action from the Superior Court of New Jersey,

Camden County, Docket No. CAM~L-4045-20 (the "State Could Action"), to the United States Dist1°ict
                                                                                                     r

Court of District Court of New Jersey. As grounds for removal, Defendants submit due following :
                                                                                                     !
                                                                                                     I:
        1. On December 10, 2020, a civil action was commenced by the plaintiffs William Giles and

           Anna Smalley against Pegasus Bus Co., LLC and Olga Tones in the Superior Court of the

           State of New Jersey, County of Camden under Docket No.: CAM-4045-20 (Exhibit A) and is

           hereby incorporated by reference to this Notice of Removal

        2. The Complaint and Summons were served on Defendant Olga Torres on December 16, 2020

           (Exhibit B) and Defendant Pegasus Bus Co., LLC on January 6, 2021 (Exhibit C) and are

           hereby incorporated by reference to this Notice of Removal.

        3. Defendants served their Answer to the Complaint on March 2, 2021. (See Answer annexed

           hereto as "Exhibit D").
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  4. This Notice of Removal is being filed pursuant to 28 U.S.C l446(b)(3) "if a case stated by the

     initial pleading is not removable, a notice of removal may be filed within thirty days after

     receipt by the defendant     if a copy of an amended pleading, motion, order or other paper

     from which it may be ascertained that the case is one which is or has become removable" and

     within a year from filing of the Complaint in accordance with 1446(c)(1) and (3)(A).

  5. The United States District Court for the District of New Jersey has original jurisdiction over

     the State Court Action based upon diversity of citizenship under 28 U.S.C. 1332 (a)(1).

     Accordingly, removal to federal court pursuant to 28 U.S.C. 1441(b) as set forth herein is

     proper.

  6, Diversity of citizenship exists where plaintiffs are a citizens of Pennsylvania and Defendants

     are citizens of New Jersey, as is the case here. (See Ex. A, Plaintiff's Complaint).

  7. Venue is appropriate in Camden, New Jersey as the alleged motor vehicle accident occurred

     while travelling on Crescent Boulevard, in the Township of Haddon, County of Camden. (See

     Ex. A, Plaintiffs Complaint).

  8. Plaintiff" S original Complaint never asselied an amount in controversy or allegations that their

     damages exceeded $75,000.000. (See Ex. A, Plaintiff's Complaint).

  9. However, Plaintiffs attorney served a Statement of Damages on March 8, 2020, indicating

     both Plaintiff" s Damages exceed the $75,000.00 damages cap threshold, (Ex. E, Statement of

     Damages).

  10. Since based on Plaintiffs' Statement of Damages the amount in controversy exceeds $75,000,

     indicating both Plaintiffs sustained damages over the damages cap, it is ascemainable that this

     action is removable, pursuant to 28 1446(b)(3), (c)(l) and (c)(3) and 28 U.S.C. 1332.
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       11. The United States District Court for the District of New Jersey has jurisdiction over this matter

           which allegedly occurred at Crescent Boulevard, in the Township of Haddon, County of

           Camden, New Jersey. Based on diversity of citizenship, the State Court Action is hereby

           removed to the United States District Court for the District oflNew Jersey as the district court

           having jurisdiction over the place where the alleged action occurred, pursuant to 28 U.S.C.

           1332 and 28 U.S.C. 1441(b).

       12. The Notice ofRemoval has been timely filed pursuant to 28 U.S.C. 1441. Simultaneous with

           the filing of this Notice of Removal, Defendant has given written notice thereof to the Clerk of

           Superior Court of Camden County and to Plaintiffs in the State Court Action.

       13. This Notice of Removal has been signed pursuant to Fed. R, Civ. II.

       14. Should any question arise as to the p1°oprietary of removal of this action, the Defendants

           respectfully requests the oppoltunity to brief any disputed issues and to request oral argument

           in suppoll of its position.

       WHEREFORE, the Defendants respectfully request that all persons take notice that the State

Cou11 Action, presently pending in the Superior Could of New Jersey, County of Camden, is hereby

removed to the United States District Could for the District of New Jersey.


       DATED: March 15, 2021

                                                     MARSHALL DENNEHEY
                                                     Attorneys for Defendants                                  3




                                                     BY:   I4/9¢4(e/4,        56444804                         1

                                                           Josie A. Scanlon, Esq.
     Case 1:21-cv-05594-NLH-MJS Document 1 Filed 03/17/21 Page 4 of 26 PageID: 4




                              CERTIFICATION PURSUANT TO L. CIV. R. 11.2


       Pursuant to Local Civil Rule 11.2, I hereby certify under penalty of pei ury that the matter in

controversy is not the subj act of any other action pending in any court, or of any pending arbitration or

administl'ative proceeding.


       Executed on: March 15, 2021



                                                      /s/   9»4, Scan¢&w
                                                      Josie A. Scanlan, Esq.
Case 1:21-cv-05594-NLH-MJS Document 1 Filed 03/17/21 Page 5 of 26 PageID: 5




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                      EXHIBIT A
             Case 1:21-cv-05594-NLH-MJS Document 1 Filed 03/17/21 Page 6 of 26 PageID: 6

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                                                                               SUMMONS

                      Alwmey(s) Jcfliny B. Solomon                                                      Superior Court of
                      Oflicc I\d(il'£5S 1801 Msrkqt Street. Suhq 606
                                                                                                          New Jersey
                      Town, State, Zip Code .Philndclphin, PA 19103
                                                                                                       Camden            County
                      Telephone Number 215-561 -0877                                                   L aw              Division
                      AItorney(s) for Plninli1T Wiliinm Giles and Anna Smalley                 Docket No: CAM-L-004045.20
                      William Gil¢s
                      Anna Smalley
                                Flalnlif}l[s)
                                                                                                        CIVIL ACTION
                         vs,                                                                             SUMMONS
                      Pegasus Bus Co, LLC
                      Olga Torres
                             Dcflendan1(s)

                     From The Slate of New Jersey To The Defcudum(s) Named Above:

                            The plainlifL named above, has lilcd a lawsuit against you in lhc Superior Court ofNuw Jersey. The complaint nuachcd
                      Io this swnxmons states lhc basis for Ibis lawsuit. If you dispute this complaint, you or your ailomcy must file a uniucn
                      l.II15\VCl" or motion and proof ofscrvice with the deputy clerk of the Superior Court in the county listed above within 35 days
                      from the dare you received this summons, not counting the date you received it, (A directory of the addresses ofench deputy
                      clerk of the Mperior Court is uvnilublc in the Civil Division Management Office in the county Iislcd above and online at
                     http;//wuwvnico11rts.gov/fomis/I0153 dcptvolcrlélawrcfiodfi) If the complaint is one in foreclosure, then you must file your
                     written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
                     P.O. Box 971 , Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State ofNcw Jersey and a completed Case
     E               lntOnnalion Statement (available from the deputy cfcik of the Superior Court) must accompany your answer or motion when
     r
                     it is iilcd, You must also send a copy of your answer or motion to plaintifFs attorney whose name and address appcur above,
                     or tO plaimiil if no attomcy is named above. A telephone call will not protect yottrrights; you must Iilc and serve a written
                     answer or motion (with fee of$l75.00 :md completed Case information Statement) if you want the court to hour your
                     defense,

                         If you do no\ file mud save a wring answer or motion within 35 days, the court may ema a judgment against you for
                    the rcliefplaindffdcmands, plus interest and costs ofsuix. Ifjudgment is entered against you, the Shcriffmay seize your
                    money, wages or property to pay all or part of lhcjudgmcnl,

         I               If you cnnnoi al°¢lord an sMomny, you may call the Luge! Services office in the county where you live or the Legal
                    Services ol'Ncw Jersey Swlewidc Hotline as I-B88-LSNJ-LAW (1-888676-5529). If you do no! have an altomcy and arc
                    not eligible for free legal assistance, you may obtain a referral to an auomey by sailing one of the Lawyer Rctbrrat Services.
                    A dircclory with contact infomxaiion for local Legal Scrviccs Offices and Lawyer Referral Services is available In the Civil
                    Division Management Office In the county listed above and online at
                    hup;//www,nicnur1s,nov/forms/l0I53_depty¢Ierklmvrc£pdf',



II
                                                                                        h,;4,     m, 8,
                                                                                         Clerk of the Superior Court
                                                                                                                          1
                   DATED: 02/05/2021_

                   Name of Defendant to Be Solved' Pcgusus Bus Company, LLC

                   Address oIIDefendam to Be Served: 3477 Hnddonlicld Road, Fennsaukcn,NJ 08109




                   Revised il/I7/2014, CN 10792~English (Appendix Xl!-A)

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       DION, SOLOMON & SHAPIRO L.L.C.
       By: MATl'HEW L. SOLOMON, ESQUIRE
       Identification No. 900882012
       By'      JEFFREY SOLOMON, ESQUIRE
       Identification No: 03336198 l
        1803 Market Street
       Suite 606, Ten Penn Center
       Philadelphia. PA 19103                                        Attorneys for Plaintiffs
        (2i5) 561-0877
       mggl0mPll@d§()1]g010m_gl\.¢0m
       isolomon@dionsolomon.com
                                                    we


       W ILLIAM GILES                                    SUPERIOR COURT OF NEW JBR§EY
       8422 Bayard Street                                LAW m vls ION
       Philadclplaia, PA 19150                           CAMDEN COUNTY
             and
                                                         DOCKET no.
        ANNA SMALLEY
       6632 Ardleigh Street                              CIVIL ACTIGN
       Philadelphia, PA 191 19
                      Plaintiff
                                                         COMPLAINT AND Jrmv DEMAND

              v.

        PEGASUS BUS co, LLC
        919 Church Road
        Cl1erry Hill, NJ 08002
               and
         OLGA TORRBS
         39 Clmpcl Avenue
        lVlerchaamvillc, NJ 08109
                        Defcndalmls                                                             b



               The Plaintiff, William Giles, residing al 8422 Bayard Street, County of Philadelphia, and

       Slate of Fcnnsyivunia and Plaiiniff, Anna Smalley. residing at 6632 Ardfeigh Street, County of

       Philadelphia, und State of Pennsylvania, complaining of the Defcndant(s) state as follows:



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                                            OION. SOLOMON, & SHAP(RO, LLC
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                                                    FIRST COUNT

                  I.      On or about May 20. 20 E9, Plaintiff, Williams Gives, was the operator of a motor

                          vehicle travelling Crescent Boulevard, in the Township of Haddon, County of

                          Camden, Stale of New Jersey.

                  2.     Plaintiff Anna Smalley, was a passenger in Plaintiff, Williams Giles, vehicle at

                          the time of the Pereira&er mentioned accident.

           1.     At the time and place aforesaid, Defendant, Pegasus By; Co, LLC, whose address is

                 believed to be 919 Church Road, Cherry Hill, New Jersey by and through its employee,

                 servant, agent or workman, Defendant, Olga Torres, owned and/or operated a motor

                 vehicle, which was so negligently, recklessly and/or carelessly operated so as to violently

                 collide with Plaintiff William Giles' vehicle.

           2.    Defendant, Olga Torres, was at all times relevant hereto, acting within the scope of

                 his/her employment or agency for the Defendant, Pegasus Bus Co, LLC

           3.   Det'endanf, Fegasus Bus Co, LLC, by and through its employee or agent, Defendant, Olga

                 Torres, illdiviéually, was negligent, careless and/or reckless in the operation of the

                aforesaid vehicle in that same was operated upon the highway without care or concern for

                the rights and safety of Igor: Plaintiffs, operating the vehicle in an unsafe manner under the
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                circumstances, and further the operator was otherwise inattentive and careless al! of

                which caused the collision with Plaintiffs.

          4.    As a result of the collision, Plaintiff, William Giles, was violently thrown about the inside
                                                                                                                 8


                of the vehicle and suffered severe painful bodily injuries, all or some of which are or may      I

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                be permanent in nature and duration and which will, in the figure cause him great pain

                and discomfort
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                                              QION, SOLOMON. a SHAPAR0 LLC
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                        5.    As a result of the collision, Plaintiff, Anna Smalley, was violently thrown about the

                              inside of the vehicle and suffered severe painful bodily injuries, all or some of which are

                              or may be permanent in nature and duration and which will, in the future cause her great

                              pain and discomfort.

                       6,     As a result of the collision, the Plaintiff, William Giles, suffered severe painful bodily

                              injuries, all or some of which are of may be permanent in nature, which have caused

                              significant limitations of use and/or function upon Plaintiffs body.

                       7.     AS a result of the collision, the Plaintiff, Anna Smalley, suffered severe painful bodily

                              injuries, all or some of which are or may be permanent in nature, which have caused

El                           significant limitations of use and/or function upon Plaintiff's body.

                       8.     As a result of said Injuries Plaintiff, William Giles, was obliged to undergo medical care

                             and treatment at great expense of time and money all of which further incapacitated him

                             ti'om pursuing his usual and customary activities and employment and which will, in the

                             future incapacitate and/or significantly limit enjoyment of his usual and customary

                             activities and employment.
u
                       9.    As a result of said injuries Plaintiff, Anna Smalley, was obliged to undergo medical care

8                            and treatment at great expense of time and money all of which further incapacitated her

                             from pursuing her usual and customary activities and employment and which will, in the
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E                            future incapacilatc and/or significantly limit enjoyment of her usual and customary

                             activities sind employment.




                                                           prom, SOLOMON, 8 SH/\PIRO, LLC             2




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                 8.      Pursuant to N.J.S.A. 39:6A~l et seq, and 39:6A~8, the injuries sustained by the Plaintiff,

                         William Giles, are excluded from limitations upon his right and/or ability to seek

                         recovery for non-economic losses, such injuriw being permanent injuries within a

                         rcasonabie degree of medical probability, other than scarring or dis figuroment.

                 9.      Pursuant xo N.J.S.A, 39:6A-I et seq, and 39:6A-8, the injuries sustained by the Plaintiff,

                         Anna Smalley, are excluded from limitations upon her right and/or ability to seek

                         recovery for non-economic losses, such injuries being permanent injuries within a

                         reasonable degree of medical probability, other than scarring or disfigurement.
     i
                         WHEREFORE, Plaintiffs, William Giles and Anna Smalley, demands judgment against

                 the Defendants, Fegasus Bus Co, LLC and Olga Torres, jointly and severally, for damages,

                interest, zniorney's fees and costs of suit,

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                                                                                                                                                  SECOND COUNT
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                 10.    For sake if brevity, Plaimiffk, William Giles and Anna Smalley, incorporate by reference
 ie                                                                                                                                                                                          I

                 all other paragraphs of this Complaint as if set forth at length.                                                                                                           e
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                 II.    At the time and place aforesaid, Dcfcxuiant, Pegasus Bus Co, LLC, was negligent in                                                                                   I




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 Ig             entrusting its vehicle lo Defendant, Olga Torres, and/or failed co properly train or advise
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 L              Defendant, Olga Torres, in the proper and safe operation of its vehicle.
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                12.     At the time and place of the herein and before nwntioneil accident, Defendants, Pegasus
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                Bus Co, LLC and Olga Torres, failed to adhere to the rules and regulations of the State of New
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Il              Jersey ns well as the rules and regulations of the Federal Motor Carrier Safety Administration
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r               and all U.S. Dep§1rtmcut ofTransportatioll rules and regulations of the operation of the

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                commercial vehicle.



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        13,     As a result of the negligence of 13efehdam, Pegasus Bus Co, LLC, an accident occurred

        and the Plaintiffs suffered injuries.

                WHEREFORE, Plaintiffs, William Giles and Anna Smalley, demands judgment against

        the Defendants, Pegasus Bus Co, LLC and Olga Tones, jointly and severally for damages,

        interest, attorney's fees and costs of suit.

                                                        RY DEMAND

                Plaintiffs hereby demands a trial by jury in this matter.

                           DEMAND FOR ANSWERS TO INTERROGATORIES

                Please take notice that the Plaizxtiffs demand that Defendants provide certified answers to

        those Interrogatories designated as Form C and Form C(]) as contained in Appendix II of the

        Rules Governing the Courts of the State of Now Jersey within sixty (60) days of service hereof

                               CERTIFICATION PURSUANT 'to RULE4:5-1

               I hereby certify that:

                1.     Tolthe best of my knowledge and belief, this matter in controversy is not the

                       subject of any other action pending in any court or a pending arbitration

                       procecciing, nor is any such proceeding contemplated at this.

                       Al this time and to the best of my knowledge and belief, there are no other parties

                       who may be joined in this action.                                                              g


                                    DESIGNATION OF TRIAL COUNSEL

               Jeffrey B. Solomon, Esquire is hereby designated as trial counsel for this case.

                                   NOTICE PURSUANT 'I'() RULE 1:7-1(b)

               Please take notice that, pursuant to New Jersey Court Rule 1:7-l(b), the Plaintiffs may
                                                                                                                      8

       suggest to the trier of fact, with respect to any element of damages, that unliquidated damages be

       calculated Oll a time unit basis without reference to a specific sum.


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........                                      DEMAND FOR INSURANCE INFORMATION

                              Please take notice that the undersigned attorney for the Plaintiffs hereby demands that all

                       Defendants produce complete copies of any and all motor vehicle liability insurance policies that

                       were in effect at the time of the accident 011 May20,2019. This request includes, but is not

                       limited to, the declaration sheet, the actual policy, and any and all endorsements to the policy.

                       This demand can be complied with by sending certified complete copies of the applicable

                       policies to the undersigned attorney for the Plaintiffs within 50 days of the service of the
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                       Complain.
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                                                              JQFPAW ... SOLOMON, BSQUIRE
                                                              Kttorncy for Plaintiffs

                       DATED: December 10, 2020
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                       EXHIBIT B
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    WlLL¥AM G1LES, ET AL                                                                                         IlII I llllI IIIIIIIIIIIIIIII I III
                                                                                   Plaintiff                                   20201215145348
                                                                                                                                 Superior Court Of New Jersey
                                            VS

I   PEGASAS BUS CO, LLC, ET AL                                                                                                                   CAM DEN Venue
                                                                               Defendant
                                                                                                                               Docket Number: CAM L 4045 20

    Person to be served (Name and Address):
    OLGA TORRES
    39 CHAPEL AVENUE                                                                                              AFFIDAVIT OF SERVICE
    MERCHANWILLE NJ 08109                                                                                           (For Use by Private Service)
    By serving: OLGA TORRES
                                                                                                     Cost of Service pursuant to R. 4:4-3(c)
    Attorney: JEFFREY B, SOLOMON, ESQ.
                                                                                                                         $           O
    Papers Served' SUMMONS AND COMPLAINT, CIS, TRACK ASSIGNMENT
    NOTICE, DEMANDS, CERTIFICATION

    Service Data:        [X] Served Successfully              [ ] Not Sewed
                                                                                                     Name of Person Served and rekalionship/title:
     DatelT1me:        12/16/2020 12:29 PM
                                                                                                     JON DOE
    { ] Delivered a copy to him/her personify
                                                                                                     RELATIVE/ROOMMATE
    EX] Left a copy with a competent household member over 14 years of age
    residing therein (indicate name 8 relationship at right)

    [ ] Left a copy with a person authorized to accept service, e.g. managing agent,
    registered agent, etc. (indicate name & official title at right)




    Description of Person Accepting Service'

    SEX:M      AGEZI36-50 HEIGHTz5'4"-5'8"           WEIGHT:131-160 LBS.                SKINZWHITE               HAIR: BLACK        OTHERS


    U n s erv ed°
    .[ ] Defendant is unknown at the address furnished by the attorney
    { ] All reasonable inquiries suggest defendant moved to an undetermined address
    { ] No such street to municipality
    { ] Defendant is evading service
    [ ] Appears vacant
    I ]No response on:                      DaleH'Ime°
                                                 Date/Time'
                                                 Dare/Time;

    Other:




    Served Data:
    Subscribed and Sworn \o me this                                                            :. HANAM HAYON,
                                                               7                                   at the lime of service a competent adult, over the age
               //         day of_    »
                                                      .20               Q'""""3""'fu             18 and not having direct interest in the litigation, I declare
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             Name               UBLIC. 0pnavunm1ux@w
                    <8'8é@§§§mp»s seplQ 2s,202a                 4% . 69(                 I   5&§gnature of process Server                            Dale
                        o                                                                    v» 5
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                                                Address:
    Name of Private Sewer: HANAN HAYON                      2009         , anus-UNION;   ~NJ 07083 Phone: (800) 672-1952
                                                                   '~   98°'ey    \\\"~`

                                                                        ""l*iu»iu0\*"
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                       EXHIBIT C
                 Case 1:21-cv-05594-NLH-MJS     Document
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                                                                                                                                          Superior Court Of New Jersey
                                                             VS
          PEGASAS BUS co, LLC, ET AL                                                                                                                    CAMDEN Venue
                                                                                                Defendant
                                                                                                                                       Docket Number: CAM L 4045 20
          Person to be served (Name and Address):
          PEGASUS BUS co., LLC
          3477 HADDONFIELD ROAD                                                                                            AFFIDAVIT OF SERVICE
          PENNSAUKEN NJ 08109                                                                                                 (For Use by Private Service)
          By serving: PEGASUS aus co., LLC
                                                                                                                Cost of Service pursuant to R. 4:4~3(c)
          Attorney: JEFFREY B. SOLOMON, ESQ.
                                                                                                                                   $
          Papers Served: SUNIMONS AND COMPUXJNT, CIS, TRACK ASSIGNMENT
          novice, DEMANDS, OERTrFICATlON

         Service Data:          [X] Served Successfully                         [ ]Not Served                   Name of Person Served and relationshlpltlilez
          Date/Time:            1/6/2021 1:35 PM
                                                                                                                SCOTT KLENK
         1 ] Delivered a copy to him/her personally
                                                                                                                PERSON AUTHORIZED TO ACCEPT sER*ylcE
         [ ] Left a copy with a compelenr household member over 14 years of age
         residing therelh (Indicate name & relationship at rlghi)

         [X] Left a copy with a person authorizedio accept service. Ag. managing agent,
         registered agent. etc. (indicate name &Offlblal title at right)




         Description of Person Accepting Service:

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         U n served :                                        .
        [ ] Defendant is unknown at the address furnished by the attorney
        { ]All reasonable inquiries suggest defendant moved to an undetermined address
        I ] No such street in municipality
        [ ] Defendant is evading service
        [ ]Appears vacant
        [ } No response on:                    Dateffhne:
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                     OF         day of        8//L                                                      was at the time of service a competent adult, over the age
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21219.0366
MARSHALL DENNEHEY
By: Josie A. Scanlon Esq.
Attorney I.D. No. 021082009
425 Eagle Rock Avenue, Suite 302
Roseland, NJ 07068
9973-618-4100         E
                      -973-618-0685
9jascanlan@mdwcg.com
Attorneys for Defendants - Pegasus Bus Co., LLC and Olga Torres
WILLIAM GILES and ANNA SMALLEY,                     SUPERIOR COURT OF NEW JERSEY
                                                            LAW DIVISION: CAMDEN COUNTY
                                Plaintiff,                  DOCKETNO.: CAM-L-4045-20

                           v.                               Civil Action

PEGASUS BUS CO., LLC and OLGA TORRES,                                      ANSWER

                                Defendants .
                                                                                                             F
                                                                                                             L

       Defendants Pegasus Bus Co., LLC and Olga Torres by way of Answer to the Complaint filed
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herein, say:
                                                                                                             .
                                               FIRST COUNT                                                   3
                                                                                                             J




                                                                                                             3

       1.      These defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

       2.      These defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

       1.      (Numbers restart in Plaintiffs' Complaint) These defendants deny the allegations contained

in this paragraph.

       2.      These defendants provide no answers to the allegations contained in this paragraph as the

allegations contained therein call for legal conclusions.

       3.      These defendants deny the allegations contained in this paragraph.

       4.      These defendants deny the allegations contained in this paragraph.

       5.      These defendants deny the allegations contained in this paragraph.
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       6.      These defendants deny the allegations contained in this paragraph.

       7.      These defendants deny the allegations contained in this paragraph.

       8.      These defendants deny the allegations contained in this paragraph.

       9.      These defendants deny the allegations contained in this paragraph.

       8.      (Numbering from Plaintiffs' Complaint). These defendants provide no answers to the

allegations contained in this paragraph as the allegations contained therein call for legal conclusions.

       9.      (Numbering from Plaintiffs' Complaint). These defendants provide no answers to the

allegations contained in this paragraph as the allegations contained therein call for legal conclusions.

       WHEREFORE, defendants demand judgment against the plaintiffs, dismissing the plaintiffs'

Complaint with prejudice,

                                            SECOND COUNT

       10.     These defendants repeat and reiterate their answers to the allegations contained in the First

Count of the Complaint as if set forth at length herein.

       11.     These defendants deny the allegations contained in this paragraph.

       12.     These defendants deny the allegations contained in this paragraph.

       13,     These defendants deny the allegations contained in this paragraph.

       WHEREFORE, defendants demand judgment against the plaintiffs, dismissing the plaintiffs'

Complaint with prejudice.

                                         SEPARATE DEFENSES

       1.      The plaintiffs' claims are barred by the applicable statute of limitations.

       2.      The plaintiffs' allegations fail to state a claim upon which relief can be granted .

       3.      Any verdict against these defendants shall be reduced by the Collateral Source Rule.
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        4.      The alleged accident was caused by the negligence of persons and/or entities over whom

these defendants had no control.

        5.      The alleged accident resulted from circumstances and conditions beyond the control of the

defendants .

        6.      The alleged occurrence was proximately caused solely by the actions and negligence of

the co-defendants, thereby precluding recovery against these defendants.

        7.      The plaintiffs' claims are barred or limited by the plaintiffs' failure to prevent or mitigate

the claimed damages.

        8.      These defendants were not guilty of negligence and violated no duty owing to the

plaintiffs.

        9.      These defendants are not joint tortfeasors and are not liable for contribution or

indemnification to any other party.
                                                                                                                 5
        10.     These defendants, while denying liability, assert that this action is governed by the
                                                                                                                 E
provisions of N.J.S.A. 39:6A-1, 91 §§g..
                                                                                                                 E
        11.     The plaintiffs' claims are barred or limited by the plaintiffs' own contributory and or          I




comparative negligence.

        12.     The plaintiffs' claims are barred by the applicable verbal threshold.

        13.     The defendants were not the proximate cause of the plaintiffs' alleged injuries.

        14.     The accident alleged by the plaintiffs was caused by the plaintiffs' sole negligence.

        15.     The defendants deny each and every allegation of negligence and wrong doing made

against them.

        16.     Plaintiffs lack_iu1°isdiction over the subject matter, under 4:6-2(a).
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           17.   The Courts of New Jersey lack personal jurisdiction over these defendants and, therefore, I

these defendants reserve the right to move for a dismissal of the action against plaintiffs.

           18.   Plaintiffs' claims should be dismissed because of insufficiency of process and

insufficiency of service of process.
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           19.   The doctrines ogres judicata and collateral estoppel are applicable to plaintiffs' claims.

Plaintiffs' claims are subject to contract a1°bit1'ation.                                                      3




           20.   Medical liens against these defendants are inadmissible and not an element of damages

claimed.

           21.   Plaintiffs' claimed damages are SO remote from the alleged tortuous act that they should be

barred .

           22.   Plaintiffs' Complaint is barred by the Entire Controversy Doctrine, Rule 4:30A.

           23.   Plaintiffs' damages are SO speculative that they are inadmissible and the claim upon which

they are based cannot be submitted to ajury.

           25.   Actions by the plaintiffs or their agent/representative/insurance carrier for subrogation

against these defendants are barred.

           26.   Plaintiffs' claims against these defendants are barred by one OI' more superseding causes.

           27.   The alleged damages sustained by the plaintiffs are the proximate result of the acts and/or

omissions of parties over whom these defendants exercised no control.

           28.   The alleged accident resulted from circumstances and conditions beyond the control of the

defendants .

           29.   The alleged occur1°ence was proximately caused solely by the actions and negligence of the

co-defendant(s), thereby precluding recovely against these defendants.
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        30.    The plaintiffs' claims are barred by plaintiffs' failure to prevent or mitigate the claimed

damages.

        31.    Plaintiffs' claims require expert testimony.

        32.    Plaintiffs' description of the subject incident in the Complaint, in'ter1'ogato1'y answers,

deposition and other discovery was made knowing it was an untruth, and constitutes fraud.

                                CROSSCLAIM FOR CONTR;BYT1ON

        These defendants demand contribution from all co-defendants named in the Complaint under the

Joint To1°tfeasors Contribution Act, as more fully set folth at N.J.S.A. 2A:53-1, Q seq.


                              CROSSCLAIM FOR INDEMNIFICATION

        While denying any liability to plaintiffs, these defendants state that if they are found to be so

liable, their liability is secondary and imputed and derivative from that of co-defendants, and defendants       8


hereby demand complete indemnification from co-defendants, including costs and counsel fees.


                                    ANSWER TO CROSS CLAIMS

        These defendants deny the allegations of any and all cross claims filed or which may be filed

against it.


                                            JURY DEMAND

        The defendants Pegasus Bus Co., LLC and Olga Torres demand a trial by jury on all issues,


                                DEMAND FOR STATEMENT OF DAMAGES

       PLEASE TAKE NOTICE that pursuant to             4:5-2 the defendants, Pegasus Bus Co., LLC and

Olga Torres, demand that the plaintiffs furnish a statement of damages claimed within the time prescribed

by the Rules of Court.
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                                DEMAND FOR INTERROGATORIES

       Pursuant to & 4:17-1, Q seq., demand is hereby made that plaintiffs herein provide these

defendants with fully certified Answers to Form A interrogatories within the time prescribed by the Rules

of Court.

                                DESIGNATION OF TRIAL COUNS3L_

       Please be advised that Josie A. Scanlan, Esq. is hereby designated as trial counsel on behalf of

defendants Pegasus Bus Co., LLC and Olga Torres, pursuant to the Rules made and provided,


                  REQUEST FOR ALLOCATION PURSUANT TO RULE 4:7-5(c)

       If any co-defendant settles prior to trial, these defendants will seek an allocation of the percentage

of negligence by the fact finder against the settling defendant(s). We will seek this allocation, whether or

not we have formally filed a cross claim against the settling defendant(s). We will rely upon the

examination and cross~examination of the plaintiffs expels witnesses and any and all other witnesses at

the time of trial, in support of this allocation. You are being apprised of this pursuant to Rule 4:7-5(0) and

Young v. Lotto, 123 N.J. 584 (1991).


                           CERTIFICATION PURSUANT TO RULE 4:5-1

       I ceztify that I am not aware of the matter in controversy being the subject of any other action

pending in any court or arbitl'ation forum. I certify that no such action or arbitration proceeding is

presently contemplated.


                                                CERTIFICATION

       It is hereby certified that a copy of the within Answer was served within the time prescribed by

Rule 4:6, as extended by the Court and consent of counsel.


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                                       MARSHALL DENNEHEY
                                       Attorney for Defendants Pegasus Bus Co., LLC
                                       and Olga Torres
                                       By:   I4/9°464/4 So¢f¢&w
                                              Josie A. Scanlon

DATED: March 2, 2021.




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                       EXHIBIT E
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     DION, SOLOMON & SHAPIRO L.L.C.
     By: MATTHEW L. SOLOMON, ESQUIRE
     Identification No. 313588
     By: JEFFREY SOLOMON, ESQUIRE
     Identification No: 34937
     1801 Market Street
     Suite 606, Ten Penn Center
     philadexpma, PA 19103                                          Attorneys for Plaintiffs
     (215) 561~0877
     msolomon@diousolomo11;com
     jsolomon@dionsolomc)n.com
                                                  I

     WILLIAM GILES", ET AL.                           a
                                                      0     SUPERIOR COURT OF NEW JERSEY
                Plaintiffs                            Il    LAW DIVISION
                                                      v
                                                      a     CAMDEN COUNTY
            v.                                        0
                                                      a

                                                      a
                                                      1     No.: CAM-L-004045-20
     PEGASUS BUS CO, LLC, ET AL.                      a
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              Defendants                              1
                                                      •     PLAINTIFFS' RESPONSE TO
                                                      1
                                                      i     REQUEST FOR DAMAGES


     TO:    Josie A. Scianlan, Esquire
            Marshall Dennehey
            425 Eagle Rock Avenue, Suite 302
            Roseland, NJ 07068

            PLEASE TAKE NOTICE that Plaintiffs, William Giles and Anna Smalley, hereby
                                                                                                           I

     responds to the Request for Damages of Defendants, Pegasus Bus Co., LLC and Olga Torres, in

     accordance with the Rules of Court, as follows: Plaintiff, William Giles $300,000.00 and Plaintiff,
                                                                                                           s




     Anna Smalley $275,000.00.                                                                             1
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i                                                           DION, SOLOMON & SHAPIRO, LLC



                                                      BY:       3" ~'
                                                                   / M                    .
                                                                         S      MON, ESQUIRE
                                                            Attorney for Plaintiff

     DATED: March 8, 2021



                                          DION, SOLOMON, s. SHAPIRO, LLC
